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                              FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                         )
                                                  )       CR 04-60 1 16-AA
                v.                                1
                                                  1
STANISLAS GREGORY MEYERHOFF,                      1       ORDER TO UNSEAL
JOSEPHINE SUNSHINE OVERAKER, and                  1       INDICTMENT
CHELSEA DAWN GERLACH,                             1       18 U.S.C. $5 1366(a) and
                                                  1       18 U.S.C. $5 371
                      Defendants.                  )


       The court, having reviewed the motion of the United States of America and being fully

advised in the premises:

       IT IS HEREBY ORDERED that the Indictment be unsealed by order of this court.

       DATED this     7    day of                            2005.




                                           UNITED STATES J3EFFMX JUDGE
Presented by:                                                 & 46157 R# TL
KARIN J. IMMERGUT
United States Attorney, OSB #963 14



KENT ROBINSON
Assistant United States Attorney
